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                                                                              CLOSED,INTERPRETER
                         U.S. District Court [LIVE]
                      Western District of Texas (Austin)
             CRIMINAL DOCKET FOR CASE #: 1:22−mj−00665−SH−1

Case title: USA v. Estrada−Campuzano                           Date Filed: 07/28/2022

Other court case number: 22−804M−NJ Eastern District of
                         Wisconsin

Assigned to: Judge Susan
Hightower

Defendant (1)
Jesus Estrada−Campuzano                  represented by Duty Pub. Defender−Austin
                                                        Office of the Federal Public Defender
                                                        Austin Division
                                                        504 Lavaca St., Suite 960
                                                        Austin, TX 78701
                                                        (512) 916−5025
                                                        Fax: (512) 916−5035
                                                        Email: norma_g_medrano@fd.org
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Public Defender or Community
                                                        Defender Appointment

Pending Counts                                         Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                      Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                             Disposition
21:841A=ND.F− Possession with
intent to distribute, and distribution
of a controlled substance; 21:846
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Conspiracy to distribute 500g of
cocaine



Plaintiff
USA                                              represented by Daniel M. Castillo
                                                                U.S. Attorney's Office
                                                                903 San Jacinto Blvd.
                                                                Suite 334
                                                                Austin, TX 78701
                                                                (512) 916−5858
                                                                Fax: 512/916−5854
                                                                Email: daniel.castillo@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

 Date Filed      # Page Docket Text
 07/28/2022     1         Arrest (Rule 5/Rule 32.1) of Jesus Estrada−Campuzano (lt) (Entered:
                          07/28/2022)
 07/28/2022     2         MOTION to Detain Defendant without Bond by USA as to Jesus
                          Estrada−Campuzano. (Castillo, Daniel) (Entered: 07/28/2022)
 07/28/2022     3         Minute Entry for proceedings held before Judge Susan Hightower:Initial
                          Appearance in Rule 5(c)(3)/ Rule 32.1 Proceedings as to Jesus
                          Estrada−Campuzano held on 7/28/2022. SPANISH Language Interpreter required
                          as to Jesus Estrada−Campuzano (Minute entry documents are not available
                          electronically.) (Court Reporter FTR Gold − ERO.) (lt) (Entered: 07/28/2022)
 07/28/2022     4         ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Jesus
                          Estrada−Campuzano. Signed by Judge Susan Hightower. (lt) (Entered:
                          07/28/2022)
 07/28/2022     5         Order Regarding Financial Status as to Jesus Estrada−Campuzano. Signed by
                          Judge Susan Hightower. (lt) (Entered: 07/28/2022)
 07/28/2022     6         ORDER OF TEMPORARY DETENTION: as to Jesus Estrada−Campuzano
                          Detention Hearing set for 8/11/2022 at 10:00 AM before Judge Mark Lane,
                          Preliminary Hearing set for 8/11/2022 at 10:00 AM before Judge Mark Lane.
                          Signed by Judge Susan Hightower. (lt) (Entered: 07/28/2022)
 07/28/2022     7         Report of Proceedings Under Rules 5(c)(3) and 5.1 and ORDER as to Jesus
                          Estrada−Campuzano. Signed by Judge Susan Hightower. (lt) (Entered:
                          07/28/2022)
 07/29/2022     8         WAIVER − Rule 5/Rule 32.1 as to Jesus Estrada−Campuzano. (afd) (Entered:
                          08/01/2022)
 07/29/2022     9         COMMITMENT TO ANOTHER DISTRICT as to Jesus Estrada−Campuzano.
                          Defendant committed to Eastern District of Wisconsin, Milwaukee Division..
                          Signed by Judge Susan Hightower. (afd) (Entered: 08/01/2022)



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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                              FILED
                                                                for the                                     July 28, 2022
                                                   Eastern District
                                                 __________         of Wisconsin
                                                             District  of __________                   CLERK, U.S. DISTRICT COURT
                                                                                                       WESTERN DISTRICT OF TEXAS

                  United States of America                         )                                                    LRT
                                                                                                   BY: ________________________________
                              v.                                   )                                                       DEPUTY

    JesusEstrada-CAMPUZANO(DOB[[/[[/1990)
                                                                   )      Case No. 22-804M(NJ)
                        &                                          )
     RodolfoGarcia-MORALES(DOB[[/[[/1987)                       )            AU: 1:22-MJ-00665-SH
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           Jan. 13 & 28, Feb. 3 & 16, 2021      in the county of             Milwaukee                 in the
      Eastern          District of          Wisconsin          , the defendant(s) violated:

            Code Section                                                     Offense Description
21 U.S.C. §§ 841(a)(1) & (b)(1)(C)             Possession with intent to distribute, and distribution of a controlled
                                               substance.

21 U.S.C. § 846                                Conspiracy to distribute 500g of cocaine.




         This criminal complaint is based on these facts:
See Attached Affidavit.




         ✔ Continued on the attached sheet.
         u
                                                                          NICHOLAS                        Digitally signed by NICHOLAS
                                                                                                          LANCASTER
                                                                          LANCASTER                       Date: 2022.02.04 08:56:12 -06'00'

                                                                                              Complainant’s signature

                                                                                       DEA SA Nicholas J. Lancaster
                                                                                               Printed name and title

Sworn YLDWHOHSKRQHWUDQVPLWWHGYLDHPDLO
SXUVXDQWWR)HG5&ULP

Date:     2/4/2022
                                                                                                 Judge’s
                                                                                                 Ju
                                                                                                  udge’s signature

City and state:                    Milwaukee, Wisconsin                          Hon. Nancy Joseph, U.S. Magistrate Judge
                                                                                               Printed name and title


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                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
                               AND ARREST WARRANT

         I, Nicholas J. Lancaster, being first duly sworn, hereby depose and state as follows:

I.       AGENT BACKGROUND AND INFORMATION

         1.      I am a Special Agent with the Drug Enforcement Administration (“DEA”). I have

been so employed since September 2015. Prior to my employment with DEA, I was employed as

a federal law enforcement officer with the United States Secret Service for approximately four

years.

         2.      As part of my duties as a DEA Special Agent, I investigate criminal violations

relating to narcotics trafficking offenses, including criminal violations of the Federal Controlled

Substance laws, including, but not limited to Title 18, United States Code, Sections 1956, and

1957, and Title 21, United States Code, Sections 841, 843, 846, 848, 952 and 963. I have been

involved with various electronic surveillance methods, the debriefing of defendants, informants,

and witnesses, as well as others who have knowledge of the distribution, transportation, storage,

and importation of controlled substances.

         3.      I have received training in the area of narcotics investigations, money laundering,

financial investigations, and various methods which drug dealers use in an effort to conceal and

launder the proceeds of their illicit drug trafficking enterprises. I have participated in numerous

investigations involving violations of narcotics laws.

         4.      I have participated in investigations that have led to the issuance of search warrants

involving violations of narcotic laws. These warrants involved the search of locations including:

residences of targets, their associates and relatives, “stash houses” (houses used as drug/money

storage locations), storage facilities, bank safe deposit boxes, cellular/camera phones, and

computers. Evidence searched for and recovered in these locations has included controlled




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substances, records pertaining to the expenditures and profits realized from narcotics trafficking,

monetary instruments and various assets that were purchased with the proceeds of the drug

trafficking.

        5.      This affidavit is based upon my personal knowledge and upon information reported

to me by other federal and local law enforcement officers during the course of their official duties,

all of whom I believe to be truthful and reliable. Throughout this affidavit, reference will be made

to case agents. Case agents are those federal, state, and local law enforcement officers who have

directly participated in this investigation, and with whom your affiant has had regular contact

regarding this investigation.

        6.      I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, in that I am empowered by law to

conduct investigations of and to make arrests for federal felony offenses.

        7.      Because this affidavit is submitted for the limited purpose of securing a complaint,

I have not included each and every fact known to me concerning this investigation. I have set forth

only facts that I believe are sufficient to establish probable cause.

8.      I am submitting this affidavit in support of a Federal Criminal Complaint for Jesus Estrada-

CAMPUZANO (DOB 10/02/1990), and Rodolfo Garcia-MORALES (DOB 01/19/1987), in the

State and Eastern District of Wisconsin. As will be shown below, there is probable cause to believe

that on or about January 13, 2021/ January 28, 2021/ February 3, 2021/ February 16, 2021,

MORALES and CAMPUZANO committed the crimes of Possession with Intent to Distribute and

Distribution of a controlled substance, that is cocaine, a Schedule II Controlled Substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C), and/or the crime




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of Conspiracy to Distribute a controlled substance, that is cocaine, a Schedule II Controlled

Substance, in violation of Title 21 United States Code, Section 846.



II.     PROBABLE CAUSE

        9.      During the beginning of 2021, the Milwaukee DEA utilized a confidential source

(hereinafter referred to as “CS”) who had information on a subject that distributed kilograms of

cocaine. The subject was identified as Rodolfo Garcia MORALES (hereinafter referred to as

“MORALES”). Over the next several weeks, the CS (under the direction of the law enforcement)

negotiated with MORALES for the purchase of multiple ounces and kilograms of cocaine. During

the negotiations, MORALES introduced the CS to his associate, Jesus Estrada CAMPUZANO.

MORALES and CAMPUZANO would typically travel together to sell cocaine to the CS, with one

exception where MORALES alone delivered cocaine to the CS. Approximately 451 grams were

purchased or seized from MORALES and CAMPUZANO combined, and an additional

approximate 252 grams was witnessed by the CS to be in the possession of MORALES and

CAMPUZANO, as further detailed below.

        10.     I and other law enforcement officers believe CS to be reliable because he/she has

provided intelligence concerning drug trafficking activities of MORALES and other drug

traffickers that have been corroborated through investigations and enforcement operations. The

CS made statements against his/her own penal interests. The CS has a pending federal case in

which he/she is charged with drug trafficking conspiracy and felon in possession of firearms.

Although no promises have been made to the CS, he/she is hoping to receive credit for cooperation

in the form of a reduction in his/her sentence.




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         11.   On January 6, 2021, the CS contacted law enforcement to report that MORALES

was offering to sell the CS kilograms of cocaine in Milwaukee, WI. The CS did not know the true

identity of MORALES at this time, and referred to MORALES as “Portillo’s cousin.” The CS

informed investigators that “Portillo's cousin" would be stopping by the CS's residence within the

next hour. The CS and "Portillo's cousin" would be meeting to discuss a future cocaine purchase

and further negotiations as instructed by investigators. Investigators established surveillance of the

meeting and observed MORALES arrive in a 2017 Toyota Rav4 with Texas license plate

NPD1659 arrived at the residence. A check through Texas Department of Transportation records

showed the registered owner of the vehicle to be Jesus Estrada CAMPUZANO out of Houston

Texas.

         12.   On January 13, 2021, law enforcement directed to the CS to contact MORALES

and have one ounce cocaine fronted to the CS, with the expectation that the CS would pay

MORALES for the cocaine the following day. On 1/13/2021, at approximately 1:00 pm, case

agents, met with the CS at the DEA Milwaukee District Office (MDO). The CS reported that

he/she had recently talked to MORALES on phone number 414-366-2094 and they had agreed to

meet at a local Milwaukee supermarket, for one ounce of cocaine to be fronted to the CS. The CS

reported that MORALES said he was coming from Waukesha, WI. Case agents searched the CS

for contraband with negative results. Case agents searched the CS vehicle for contraband with

negative results. At approximately 1:18pm, the CS departed the MDO en route for the

supermarket. Case agents followed the CS to the meet location. Case agents installed covert

surveillance equipment in the CS vehicle. Case agents followed the CS vehicle directly to the

supermarket parking lot at approximately 1:25pm. A DEA air wing surveillance unit conducted

aerial surveillance, and transmitted via radio relevant information regarding the movements of the



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CS and MORALES. The ground surveillance team listened in to a live stream audio of the sounds

and conversations around the CS.

       13.     At approximately 1:25pm, DEA surveillance reported that MORALES was

standing out front of the Red Rav4 and motioning to the CS vehicle as the CS drove through the

lot. The CS vehicle pulled up to MORALES and MORALES entered the CS vehicle passenger

side and the CS parked next to the Red Rav4. Video of MORALES inside the CS vehicle was

captured for evidence. Via the live audio, ground surveillance overheard a conversation ensue

between the CS and MORALES in Spanish. The CS and MORALES negotiated possible kilogram

cocaine deals for the future, then MORALES had the CS exit the CS vehicle and get in to the red

Rav4 so they could talk to MORALES’ associate who was waiting in the passenger seat of the

Rav4 (later identified as CAMPUZANO). At approximately 1:28 pm, DEA surveillance observed

the CS and MORALES exiting the CS vehicle. The CS entered the back seat of the Red Rav4, and

MORALES entered the front driver’s side of the Rav4. Investigators listened to live audio as a

conversation took place between the CS, MORALES, and CAMPUZANO. At approximately 1:30

pm, the CS exited the red Rav4 and went directly back to the CS vehicle. Case agents followed the

CS back to the MDO. DEA surveillance followed the red Rav4 and observed the vehicle parking

at 1724B S. 6th Street.

       14.     At the MDO, the CS transferred a clear baggy containing a white chunky

substance suspected to be cocaine to case agents. The CS did not have the suspected cocaine on

his/her person or in his/her vehicle prior to meeting with MORALES, and the CS did not meet

with any other persons while under DEA surveillance. Case agents searched the CS and the CS

vehicle for contraband with negative results. At the MDO, the suspected cocaine was weighed to




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be 29.3 grams. The suspected cocaine tested positive for cocaine with a TruNarc electronic testing

device and was sent to the North Central Laboratory for analysis.

       15.     Case agents debriefed the CS after the controlled buy operation in which the

cocaine was fronted to the CS. The CS related to case agents that he/she departed the MDO and

stopped near W. Burnham St. and W. Electric Ave to call MORALES to say he/she was en route.

Then the CS continued driving toward the supermarket when the CS received an incoming call

from MORALES using a new phone, #254-523-5476. MORALES told the CS he had arrived at

the supermarket and was waiting. The CS then recalled he/she stopped short of the final

destination so case agents could approach the CS's vehicle and plant a covert surveillance device.

The CS said he/she then drove straight to the supermarket parking lot and had not met or interacted

with any person other than case agents up until the moment the CS met MORALES. The CS does

not know MORALES' first or last name, and stated "he was standing in the parking lot near his car

and I pulled up to him and he jumped in my car." The CS stated "he told me he had a guy coming

in town with 5 kilo's per week for $45,000 - $46,000 USC/ per kilogram, and we talked about the

ounce of cocaine being fronted, then he wanted me to go to his car to meet the other guy, I got in

the back seat of his car and he got in the driver’s seat, and there was a guy in the passenger seat

and his name was Jesus” (CAMPUZANO). Case agents asked what kind of car the subjects were

driving, and the CS stated is was a "little red SUV." The CS described Jesus (CAMPUZANO) as

approximately "five foot six, 180lbs, age 30's with a clean face, yellow teeth, straight from

Mexico." The CS said they discussed future deals for kilograms of cocaine and having a safe place

to do it where everyone was comfortable, and that Jesus (CAMPUZANO) said he had 28 ounces

left in his current stash. The CS said "the driver (MORALES) handed over the ounce of cocaine."




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       16.     On January 14, 2021, investigators coordinated for the DEA CS to pay back

MORALES for the previously fronted ounce of cocaine, with $1,200 OAF. On 1/14/2021, at

approximately 9:30 am, case agents met with the CS at the MDO. The CS reported that he/she

had recently talked to MORALES on phone number 254-532-5476 and they had agreed to meet at

10:00 am so the CS could pay MORALES. The CS reported that MORALES said he was coming

from Waukesha, WI. Case agents searched the CS and CS vehicle for contraband with negative

results. Case agents asked the CS to arrange the meeting to take place at a local Milwaukee

supermarket. Case agents equipped the CS with a live audio streaming device so that surveillance

could listen to the CS's conversations, and with an audio recorder so that the CS's conversations

could be memorialized as evidence. At approximately 9:59 am, the CS departed from

the MDO, and was followed by case agents. A short distance from the MDO the CS pulled over

and placed a call to the MORALES. The CS and MORALES agreed to meet in the parking lot of

the supermarket. Once the location was agreed upon the CS departed and drove directly to the

supermarket.

       17.      At approximately 10:03 am, the CS entered the supermarket parking lot and

surveillance observed the CS park in the middle of the parking lot. At approximately 10:13 am,

surveillance observed a red Toyota Rav4 bearing a Texas license plate of NDP1659 turn into the

supermarket parking lot, and park next to the CS vehicle. At approximately 10:14 am, surveillance

observed the CS enter the back seat of the red Rav4. The CS had a conversation with MORALES

and CAMPUZANO negotiating kilograms of cocaine for $45,000 per kilogram. At approximately

10:17 am, surveillance observed the CS exit the Rav4. The CS was observed standing at the

driver’s window of the Rav4 speaking with MORALES, then the CS returned to the CS vehicle.

The DEA surveillance team followed the Rav4 to a parking area behind 1724B S. 6th Street.



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       18.    Case agents followed the CS back to the MDO. The CS did not make any stops and

did not meet with anyone after leaving the supermarket parking lot. Once at the MDO, case agents

searched the CS and CS vehicle for contraband with negative results. Case agents debriefed the

CS immediately after the controlled payment operation on 1/14/21. Case agents asked the CS to

recall his movements and observations since departing the MDO to meet with MORALES. The

CS stated he/she departed the MDO and stopped near W. Burnham St. and W. Electric Ave to call

MORALES to say he/she was heading to the supermarket at 35th and W. Burnham Ave. for their

meeting. The CS said he/she drove straight to the meeting location without meeting or interacting

with anyone else and waited in the parking lot until he/she met MORALES and CAMPUZANO.

The CS stated when he/she saw MORALES' red Toyota Rav4 he/she got out of the CS vehicle and

got in the back seat of the target vehicle. The CS observed MORALES in the driver’s seat and

CAMPUZANO in the passenger seat. The CS reported handing the $1,200 OAF to MORALES,

then the trio had a discussion about cocaine deals and pricing. The CS reported that MORALES

and CAMPUZONO have 21 ounces of cocaine left, but there are three kilograms at an undisclosed

location 3 hours away and it would be a 6 hour drive round trip. CAMPUZANO told the CS as

soon as he can sell everything in his current stash he plans to go back to Texas to resupply.

CAMPUZANO told the CS the price of each kilogram of cocaine is $45,000. The CS said as he/she

exited the target vehicle he/she walked up to the passenger side window to say some parting words

to CAMPUZANO in order to get a clear view of CAMPUZANO's face, then the CS went straight

to the CS vehicle and traveled directly back to the MDO without meeting or interacting with any

persons until the CS met with DEA investigators.

       19.    On January 28, 2021, at approximately 11:30am, case agents met with the CS at

the MDO. The CS reported that he/she had recently talked to MORALES on phone number 254-



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532-5476 and they had agreed to meet at 12:00 pm, for MORALES to sell the CS two ounces of

cocaine. Case agents searched the CS and CS vehicle for contraband with negative results. The

CS confirmed that he/she had arrange for the meeting to occur at the local Milwaukee supermarket.

Case agents transferred $2,400 official advanced funds (OAF) to the CS, then equipped the CS

with a live audio streaming device so that surveillance could listen to the CS's conversations, and

with an audio/video recorder so that the CS's conversations could be memorialized as evidence.

At approximately 11:52pm, the CS departed the MDO. At approximately 11:45am, a DEA

surveillance team established observational positions around the supermarket. Case agents

followed the CS from the MDO, to the Supermarket. The CS drove directly to the meeting location

and did not stop or interact with any other subjects.

       20.     At approximately 11:55am, surveillance observed the CS vehicle park in the

supermarket parking lot and observed that the CS did not have any interactions with any subjects

while waiting for MORALES to arrive. The CS, and the surveillance team waited approximately

one hour for MORALES to arrive. During this delay, case agents could hear via the live audio

recording that the CS called MORALES multiple times to expedite the operation and on one of

the calls MORALES relayed that he was in route from 6th Street. At approximately 12:52pm,

surveillance observed MORALES' blue 2002 Chevrolet Trail Blazer, WI: ACM7522 (Target

Vehicle) arrive in the supermarket parking lot. Surveillance observed that MORALES was riding

in the front passenger seat of the target vehicle, while an unidentified female was driving. The

target vehicle parked next to the CS vehicle on the CS's driver’s side. Surveillance

observed MORALES exit the target vehicle and enter the passenger side of the CS vehicle. The

surveillance team could hear, via live audio stream from the CS vehicle, a conversation take place

between the CS and MORALES in Spanish. The conversation was interpreted and relayed to the



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case agents that the conversation was about future drug deals with a cocaine source of supply in

Rockford, IL. At approximately 12:54 pm, surveillance observed MORALES exit the CS vehicle

and return to the target vehicle. The CS departed the area and case agents followed the CS back to

the MDO. The DEA surveillance team followed the target vehicle, which departed the parking lot

and was last seen by surveillance units heading southbound on S. Whitnall Ave., from Layton Ave.

in Cudahy, WI.

       21.     Case agents followed the CS to MDO. The CS transferred approximately two

ounces of cocaine over to case agents. Based on the initial search, and surveillance, investigators

know that the CS did not have these drugs in his/her possession prior to meeting

with MORALES. Case agents searched the CS and CS vehicle for contraband with negative

results. At the MDO, the suspected cocaine was weighed to be 54.4 grams. The suspected cocaine

tested positive for cocaine with a TruNarc electronic testing device and was sent to the North

Central Laboratory for analysis. Case agents debriefed the CS immediately after the controlled buy

operation on 1/28/21. Case agents asked the CS to recall his movements and observations since

departing the MDO to meet with MORALES. The CS stated he/she departed the MDO and drove

straight to the supermarket at 35th and W. Burnham Ave. and did not meet or interact with

anyone on the way. The CS said he/she waited in the parking lot for about an hour for MORALES

to show up. The CS said while he/she was waiting the CS called and texted MORALES but did

not interact with any people and stayed inside the CS vehicle. The CS stated when he/she saw

MORALES' blue Chevrolet Trailblazer parking next to the CS vehicle, MORALES got out of the

passenger side of the Trailblazer and got in to the CS vehicle. The CS recalled MORALES was

wearing a baseball hat and a coat. The CS said MORALES handed over the cocaine first, then the

CS handed MORALES the money. The CS recalled MORALES talked about a cocaine supplier



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based in Rockford, IL that they could go to purchase a kilogram of cocaine. The CS said

MORALES returned to his Trailblazer and the CS departed the area and headed straight back to

the MDO without meeting or interacting with any persons until the CS met with DEA

investigators.

       22.       On February 2, 2021, case agents met with the CS. The CS informed investigators

that he/she could meet with MORALES to discuss a future 1/4 kilogram cocaine transaction.

Investigators refer to such a meeting between a CS and a target subject as a "dry meet", as no

money and no drugs are exchanged. At approximately 12:00pm, case agents equipped the CS with

a covert audio recording device and followed the CS to the pre-established supermarket parking

lot in Milwaukee, WI. A DEA surveillance team was established in the area. The CS called

MORALES at 254-523-5476. At approximately 12:30pm, surveillance observed MORALES' blue

2002 Chevrolet Trailblazer, WI: ACM7522 (target vehicle), park one parking spot north of the CS

vehicle. MORALES exited the driver’s side, and Jesus Estrada CAMPUZANO exited the

passenger side. Surveillance observed both subjects enter the CS vehicle. A conversation between

the subjects and the CS took place inside the CS vehicle and was recorded by the covert recording

device. In summary, the CS asked for ¼ kilogram of cocaine and they arranged a deal for the

following morning.

       23.       On February 3, 2021, at approximately 11:00am, case agents met with the CS at

the MDO. The CS reported that he/she had recently talked to MORALES on phone number 254-

523-5476 to confirm the deal was still on. (AGENT NOTE: a subpoena return from T-Mobile

for the phone used by MORALES, 254-523-5476, lists the account subscriber as “Jesus Estrada”.

Investigators suspect Jesus Estrada CAMPUZANO is allowing MORALES to use a phone/service

plan in CAMPUZANO’s name to coordinate drug transactions.) The CS relayed that



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MORALES had agreed to meet at 11:30 am, at a local Milwaukee supermarket, for MORALES to

sell the CS 10 ounces of cocaine. Case agents searched the CS and CS vehicle for contraband with

negative results. Case agents transferred $14,000 official advanced funds (OAF) to the CS, then

equipped the CS with a live audio streaming device so that surveillance could listen to the CS's

conversations, and with an audio/video devices so that the CS's conversations could be

memorialized as evidence. At approximately 11:22pm, the CS departed the MDO in route for

supermarket, followed by case agents. A DEA surveillance team established positions of

observation around supermarket at approximately 11:00am. At approximately 11:10am,

surveillance observed the target vehicle (2002 blue Chevy Trailblazer, WI: ACM7522) arrive in

the supermarket parking lot. Surveillance identified CAMPUZANO exit the driver position of the

target vehicle and walked towards the dumpsters and return to the driver’s seat of the target vehicle.

At approximately 11:27 am, the CS arrived in the supermarket parking lot and parked on the

driver’s side of the target vehicle. The CS exited the CS vehicle and got inside the rear driver’s

side of the target vehicle. Case agents and the surveillance team could hear a conversation take

place between the CS and the subjects inside the target vehicle, via a live audio streaming device.

A DEA agent interpreted the conversation for pertinent information regarding the CS's safety and

investigative leads.

       24.     At approximately 11:33am, surveillance observed the CS was returning to the CS

vehicle and departing the parking lot. Case agents took over surveillance of the CS and followed

the CS back to the MDO. The surveillance team stayed with the target vehicle. While driving

back to the MDO, the CS telephoned case agents, and reported the CS had

successfully purchased cocaine and there was an additional nine ounces of cocaine on the

backseat of the target vehicle for another customer. At approximately 11:34am, the target vehicle



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departed the parking lot. Surveillance observed the vehicle contained three occupants (this

observation is also corroborated by CS statements). The surveillance team followed the target

vehicle to a back-alley parking area between S. 5th and S. 6th Streets, just south of Mitchell

Street in Milwaukee. Surveillance observed MORALES and CAMPUZANO exit the target

vehicle, approach the back door of 1723 S. 5th St. and knock on the back door and wait on the

back porch for a few minutes. The suspects received no answer, and returned to the

target vehicle. The target vehicle moved east through the parking area towards 1724B S. 6th

Street. MORALES, CAMPUZANO, and an unidentified male exited the target vehicle outside

1724B S. 6th Street. Surveillance observed MORALES and CAMPUZANO go inside the door

on the west side of 1724B S. 6th Street.

       25.     While returning to the MDO, the CS did not make any stops and did not meet

with anyone after meeting MORALES in the Pete's parking lot. Once at the MDO, the CS

transferred approximately 10 ounces of cocaine to case agents. Based on the initial search, and

surveillance, investigators know that the CS did not have these drugs in his/her possession prior

to meeting with MORALES. Case agents searched the CS and CS vehicle for contraband with

negative results; the CS no longer had the OAF. Case agents debriefed the CS immediately after

the operation, asking the CS to recall his/her movements and observations since departing the

MDO to meet with MORALES.           The CS stated he/she departed the MDO and drove straight to

the Pete's Fruit Market on Greenfield Ave, and did not meet or interact with anyone on the way.

The CS said, when he/she arrived in the parking lot the CS observed CAMPUZANO walking

from the direction of the dumpsters at the back of the parking lot, towards the blue Chevy

Trailblazer, and CAMPUZANO entered the driver’s seat. The CS then parked next to the Chevy

trailblazer and entered the rear driver’s side of the Trailblazer. The CS reported that MORALES



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was in the front passenger seat, and an unidentified male was in the back passenger side seat.

The CS recalled the conversation that took place inside the Chevy Trailblazer with the three

subjects. The CS recalled that they told the CS the cocaine is very good quality and they had

cooked an ounce of it which had yielded 29 grams of crack, meaning the product is very pure.

The subjects related that they had sold the cocaine to "Bull", and he liked the product. The CS

said MORALES handed over the cocaine to the CS, and then the CS handed over the $14,000

OAF to MORALES; then MORALES divided up the money amongst himself, CAMPUZANO,

and the UM to count it. All three subjects counted their stack of money and then they told each

other how much they had and added up the total to make sure all the money was there. The CS

stated he/she saw an additional 9 ounces of cocaine in a bag, sitting in plain view on the middle

seat of the back row, between the CS and the UM. The CS stated he/she was momentarily

confused because he/she thought he/she had already put the cocaine in his jacket, but thinking

the bag of cocaine on the seat was the CS's, picked it up to look at it, then realized the CS did

already have the purchased cocaine, and this bag was presumably for another customer. The CS

put returned the second bag of cocaine to the middle seat, and exchanged parting words with the

subjects. The CS said he/she returned to the CS vehicle and departed the area and headed straight

back to the MDO without meeting or interacting with any persons until the CS met with DEA

investigators.


       26.       Case agents weighed the suspected cocaine in at 298.5 grams, and tested the exhibit

for cocaine with a Modified Scott Reagent cocaine/crack presumptive field test with positive

results for the presence of cocaine. The evidence has been transferred the North Central Lab for

further processing.




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          27.     On February 16, 2021, case agents met with the CS and directed the CS to meet

contact         MORALES      to   order    1    kilogram      of    cocaine.   At     approximately

10:30am, MORALES informed the CS that MORALES had possession of the cocaine and

would deliver it to the CS soon. Investigators observed the GPS tracker on the target vehicle was

traveling from Waukesha, in to Milwaukee.                  Investigators scrambled   a surveillance

team to observe the target vehicle based on the GPS location. Surveillance observed

CAMPUZANO (driver) and MORALES (passenger) in the target vehicle (2002 blue Chevrolet

Trailblazer, ACM7522). At approximately 10:45, the target vehicle was subject to a traffic stop by

Milwaukee PD due a bad break light and failure to obey stop sign. An MPD k-9 searched the

vehicle, and a rear seat passenger identified as Roxcell VAZQUEZ 11/5/1996, was placed under

arrest, in possession of approximately 70 grams of cocaine. VAZQUEZ was transported to MPD

District 2 for booking. After the booking process, MPD Police Officers interviewed VAZQUEZ

in the District 2 interview room. The interview was audio and video recorded. VAZQUEZ was

advised of her constitutional rights per the PM-2 card. VAZQUEZ stated she understood her rights

and was willing to answer questions without a lawyer present. VAZQUEZ stated she believed

they were driving to Milwaukee for Mexican style bread, and when they were pulled over by

police, CAMPUZANO handed VAZQUEZ several plastic bags and told her to hide them.

VAZQUEZ assumed it was cocaine in the bags and hit them in her bra.

III.      CONCLUSION

          28.     Based on the above information, I submit that there is probable cause to believe

that on or about January 13, 2021/ January 28, 2021/ February 3, 2021/ February 16, 2021,

Rodolfo Garcia-MORALES (DOB 01/19/1987), and Jesus Estrada-CAMPUZANO (DOB

10/02/1990) conspired to possess with intent to distribute and distributed a controlled substance,



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that is cocaine, a Schedule II Controlled Substance, in violation of Title 21, United States Code,

Sections 846, 841(a)(1) and 841(b)(1)(B).




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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                 __________  DistrictofofWisconsin
                                                                          __________

                  United States of America
                             v.                                    )
                                                                   )        Case No. 22-804M(NJ)
                Jesus Estrada-CAMPUZANO                            )
                     (DOB xx/xx/1990)                              )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Jesus Estrada-CAMPUZANO                                                                              ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information               ✔ Complaint
                                                                                                                       u
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice            u Order of the Court

This offense is briefly described as follows:
  See Attached Affidavit.




Date:     2/4/2022
                                                                                            IIssuing
                                                                                             Is
                                                                                              ssuuiinng of
                                                                                                        oofficer’s
                                                                                                           ficer’s signature

City and state:       Milwaukee, Wisconsin                                        Nancy Joseph, U.S. Magistrate Judge
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title


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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 UNITED STATES OF AMERICA
             Plaintiff
 v                                                       CASE NO.: 1-22-MJ-00665-SH
 JESUS ESTRADA-CAMPUZANO
             Defendant




                       MOTION FOR DETENTION OF DEFENDANT

         The government seeks pretrial detention under Title 18, United States Code, Section 3142,
et seq., and would show the Court the following:

1.       The pending case involves:

  [ ] (a)       A crime of violence; 18 U.S.C. § 3142(f)(1)(A).

     [ ] (b)    An offense for which the maximum sentence is life imprisonment or death;
                18 U.S.C. § 3142(f)(1)(B).

     [X] (c)    An offense for which a maximum term of imprisonment of ten years or more is
                prescribed in the Controlled Substances Act, the Controlled Substances Import and
                Export Act or the Maritime Drug Law Enforcement Act; 18 U.S.C. § 3142(f)(1)(C).

  [ ] (d)       A felony committed after the Defendant had been convicted of two or more prior
                offenses described in Title 18, United States Code, Section 3142(f)(l)(A)-(C) or
                comparable state or local offenses.

  [ ] (e)       A felony that is not otherwise a crime of violence that involves a minor victim or
                that involves the possession or use of a firearm or destructive device or any other
                dangerous weapon or involves the failure to register under section 2250 of title 18,
                United States Code; 18 U.S.C. § 3142(f)(1)(E).

  [X] (f)       A serious risk that the Defendant will flee; 18 U.S.C. ' 3142(f)(2)(A).

 [ ] (g)        A serious risk that the person will obstruct or attempt to obstruct justice, or attempt
                to threaten, injure or intimidate a prospective witness or juror;
                18 U.S.C. ' 3142(f)(2)(B).



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  [ ] (h)     An offense committed by the Defendant while released pending trial or sentence,
              or while on probation or parole and the person may flee and/or poses a danger to
              another person and/or the community requiring an initial 10-day detention pursuant
              to 18 U.S.C. ' 3142(d).

  [ X] (i)    An offense committed by the above named defendant who is not a citizen of the
              United States or lawfully admitted for permanent residence and the person may flee
              requiring an initial 10 day detention under the provisions of 18 U.S.C. ' 3142(d).

2.     No condition or combination of conditions will:

  [X] (a)     Reasonably assure the appearance of the person as required.

  [X] (b)     Reasonably assure the safety of the community or any other person.

3.     The United States may advocate additional reasons for detention other than those indicated

above as the investigation proceeds and new information becomes available.

4.     Pursuant to 18 U.S.C. ' 3142(f) the United States moves that the detention hearing be

continued for TEN (10) days so that the United States can prepare for said hearing.

5.     The Government requests that the Defendant be held without bond.

                                                    Respectfully submitted,

                                                    ASHLEY C. HOFF
                                                    UNITED STATES ATTORNEY

                                            By:     /s/ Daniel M. Castillo
                                                    DANIEL M. CASTILLO
                                                    Assistant U. S. Attorney
                                                    903 San Jacinto Blvd., Suite 334
                                                    Austin, Texas 78701
                                                    Office (512) 916-5858
                                                    Fax    (512) 916 5854




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                                CERTIFICATE OF SERVICE

       I certify that on July 28, 2022, a copy of the foregoing instrument was electronically filed

with the Clerk of the Court using the CM/ECF System.


                                             By:     /s/ Daniel M. Castillo
                                                     DANIEL M. CASTILLO
                                                     Assistant United States Attorney




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                                           UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION

                       United States of America                                        Criminal No.: AU:22-M -00665(1)

                       v.                                                              Date Appeared: July 28, 2022

                       (1) Jesus Estrada-Campuzano                                     Time:             4:37-4:46 PM (9 minutes)
                            Defendant



                                                 INITIAL APPEARANCE
1. Complaint Filed                                 February 4, 2022          Warrant Issued:                   February 4, 2022
                                                          Date                                                        Date

   Arrested                                          July 28, 2022           Agency:                                USMS
                                                          Date                                                       Agency


2. COURT PERSONNEL:

        U.S. Magistrate Judge:              SUSAN HIGHTOWER
        Courtroom Deputy:                   James Ferrell
        Pretrial Officer:                   N/A
        Interpreter:                        Lorena Devlyn

3. APPEARANCES:

        AUSA:      N/A
        DEFT ATTY: N/A

4. PROCEEDINGS:

   a.      Age                            Education                                                           Gender          Male
   b.      Defendant understands proceedings and is mentally competent.                                                        Y
   c.      Defendant is informed of constitutional rights.                                                                     Y
   d.      Defendant understands charges.                                                                                      Y
   e.      If charged on complaint, Defendant informed of right to Preliminary Hearing.                                        Y
   f.      Defendant informed of right to legal counsel.                                                                       Y
                   1) Defendant waives counsel.
                   2) Defendant intends to retain counsel.
                   3) Defendant has retained counsel:
                                                  Phone No.:
              X 4) Defendant requests appointment of counsel.
                           X       Defendant HAS NOT completed the CJA23 financial affidavit.
                                      X         Court will appoint counsel in the interest of justice based on defendant's verbal
                                                accounting of current financial status.

                                        Defendant HAS completed the CJA23 financial affidavit and the Court will appoint counsel
                                        because:
                                                   The defendant is indigent at this time.
                                                   Even though the defendant is not indigent, counsel will be appointed in the interests
                                                   of justice.
                                        The Court finds that the defendant is NOT eligible and denies request.




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PROCEEDING MEMO - INITIAL APPEARANCE
In Re: (1) Jesus Estrada-Campuzano
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  g.   PRE-TRIAL RELEASE:
         X 1) The Government makes                 oral  or      X written motion for detention under 18 USC 3142.
                Court sets detention hearing for            Tuesday, August 11 at 10am before Judge Lane
            2) The Court sua sponte moves for detention. The detention hearing is set for
                                                                              at
            3) The Defendant               is released      will be released on the following conditions:
                Bond is set at $

                   (Check the following that apply:)

                               unsecured                                      unsecured with 10% posted to the registery
                               cash or corporate                              additional sureties
                               3rd party custodian                            as set forth in Order Setting Conditions of Release

  h.   Temporary Detention issued           July 28, 2022         Preliminary Hearing set for       Tuesday, August 11 at 10am
                                                                                                        before Judge Lane

  i.   REMOVAL PROCEEDINGS:
       The Defendant is advised of Rule 20 and Rule 5 rights and ....
             1) The Defendant waives Rule 5(c)(3)(D)(ii) and is detained pending removal to the
                                                                              . Detention hearing is to be held in that district.
             2) The Defendant waives Rule 5 and is released on bond. The Defendant is ordered to appear in the
                                                                                    on
                  or        when notified by the prosecuting district.
             3) The Defendant is              detained            released on bond and requests Rule 5(c)(3) hearing. The
                  Court sets hearing for

  j.   Other:   IDENTITY HEARING ORALLY WAIVED.




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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

United States of America                         §
                                                 §
vs.                                              §      NO: AU:22-M -00665(1)
                                                 §
(1) Jesus Estrada-Campuzano                      §

         ORDER APPOINTING FEDERAL PUBLIC DEFENDER

       Consistent with the Court’s Order Regarding Financial Status in this case, the Federal

Public Defender is hereby APPOINTED to represent the defendant.

       Should this case proceed before a United States District Judge, the appointment shall

remain in effect until terminated or a substitute attorney is appointed.

            SIGNED this 28th day of July, 2022.



                                                     ______________________________
                                                     SUSAN HIGHTOWER
                                                     UNITED STATES MAGISTRATE JUDGE




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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

United States of America                         §
                                                 §
vs.                                              §     NO: AU:22-M -00665(1)
                                                 §
(1) Jesus Estrada-Campuzano                      §


                         ORDER REGARDING FINANCIAL STATUS

      The defendant appeared in this Court this day and asked the Court to appoint counsel.
Because the defendant has testified under oath or otherwise satisfied the Court after appropriate
inquiry that the defendant (1) is financially unable to employ counsel and (2) does not wish to
waive counsel, and because the interests of justice so require, the Court has appointed counsel to
represent the defendant in this case.
      The defendant is advised that he may be required to reimburse the Government for the costs
of appointed counsel on completion of the case. IT IS THEREFORE ORDERED that on any
finding of guilt as to these current charges, the U.S. Probation Office is instructed to make
financial inquiries of the defendant to determine if the defendant can repay the costs of
court-appointed counsel. The U.S. Probation Office shall report its findings to the judicial officer
assigned to the case before any sentencing.

SIGNED on July 28, 2022.




                                                     ______________________________
                                                     SUSAN HIGHTOWER
                                                     UNITED STATES MAGISTRATE JUDGE




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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

         United States of America                      §
                                                       §
         vs.                                           § NO: AU:22-M -00665(1)
                                                       §
         (1) Jesus Estrada-Campuzano                   §

    ORDER OF TEMPORARY DETENTION UNDER 18 U.S.C. § 3142(d)
         At the time of the alleged offense, the defendant was not a United States citizen or a
person lawfully admitted for permanent residence, or, alternatively, the defendant was on release
pending trial for a state or federal felony; on release after conviction for any type of offense, state
or federal; or on probation or parole. This court finds that the defendant, if released, may flee or
pose a danger to another person or the community.


         IT IS ORDERED: The defendant must be detained temporarily under 18 U.S.C. § 3142(d) until
August 11, 2022. I further order that a       X Detention hearing and X a Preliminary hearing
be held on Thursday, August 11, 2022 at 10:00 A.M. before the Honorable Mark Lane, in
Courtroom No. 8 on the 7 Floor of the United States Courthouse, 501 West Fifth Street, Austin, Texas
78701.


         The attorney for the government is directed to notify the appropriate court, probation or
parole officer, state or local law enforcement officer, or the United States Citizenship and
Immigration Services so that a detainer may be placed on the defendant or custody may be
transferred. If no action is taken by the above date, the defendant must be brought before this
court on that date for further proceedings.


         If the defendant chooses to waive hearing(s), a written waiver (attached) must be signed
by defendant and defendant's counsel and filed by 4:00 p.m. the day before scheduled
hearing.


July 28, 2022                                         ______________________________
                                                      SUSAN HIGHTOWER
                                                      UNITED STATES MAGISTRATE JUDGE


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                       UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

             United States of America

             v.                                              Case Number: AU:22-M -00665(1)

             (1) Jesus Estrada-Campuzano


              DEFENDANT'S WAIVER OF DETENTION HEARING

       Defendant, (1) Jesus Estrada-Campuzano, files this waiver in response to the Order of
Temporary Detention Hearing which was issued by the Court.              After further investigation,
Defendant wishes at this time to waive the right to a detention hearing, subject to their right to
bring a motion concerning detention at a later date.




                                                   Respectfully submitted,
Defendant


Date                                               Attorney for Defendant




                                CERTIFICATE OF SERVICE


      This is to certify that a true and correct copy of the foregoing document was
delivered to the Assistant United States Attorney on the          day of            , 20       .




                                                   Attorney for Defendant




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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

         United States of America

         v.                                                   NO: AU:22-M -00665(1)

         (1) Jesus Estrada-Campuzano


                     WAIVER OF A PRELIMINARY HEARING
        I understand that I have been charged with an offense in a criminal complaint filed in this
court, or charged with violating the terms of probation or supervised release in a petition filed in
this court. A magistrate judge has informed me of my right to a preliminary hearing under Fed.
R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. Crim. P. 32.1.


        I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R.
Crim. P. 32.1.



Date:


                                                                 Defendant's signature




                                                            Signature of defendant's attorney




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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

United States of America                              §
                                                      §
vs.                                                   §        NO: AU:22-M -00665(1)
                                                      §
(1) Jesus Estrada-Campuzano                           §          Charging District’s
                                                      §          Case No. 22-804M(NJ)
                                                      §
                                                      §
                                                      §


                               COMMITMENT TO ANOTHER DISTRICT

The defendant has been ordered to appear in the      Eastern    District of   Wisconsin, Milwaukee Division             .

The defendant may need an interpreter for this language:                      Spanish                               .

        The defendant:        will retain an attorney.

                           X is requesting court-appointed counsel.

        The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy
of this order, to the charging district and deliver the defendant to the United States marshal for that district,
or to another officer authorized to receive the defendant. The marshal or officer in the charging district
should immediately notify the United States attorney and the clerk of court for that district of the
defendant’s arrival so that further proceedings may be promptly scheduled. The clerk of this district must
promptly transmit the papers and any bail to the charging district.




07/29/2022                                                ______________________________
                                                          SUSAN HIGHTOWER
                                                          UNITED STATES MAGISTRATE JUDGE




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